10
11
12
13
14
15
16
17
18
19
20
al
22
23
24
25
26
27

28

Case 2:18-cr-00549-FMO Document1 Filed 08/28/18 Pagelof6 Page ID#:1

    

AUG 2 8 2018

j
j
| |
} } }
| ; |
t i ~Bisifucy ai

UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA
June 2018 Grand Jury

UNITED STATES OF AMERICA, CR No MAC I? ‘) 0 54 Gg ra F HO

a

Plaintifé, INDICTMENT
Vi. [18 U.S.C. 8§§ 2251(a), (e):
Production of Child Pornography;
JOHN EDWARD ZERETZKE, 18 U.S.C. § 2422(b): Use of a
Facility of Interstate Commerce to
Defendant. Attempt to Induce a Minor to

Engage in Criminal Sexual
Activity; 18 U.S.C. § 2423(b):
Travel With Intent to Engage in
Tllicit Sexual Conduct; 18 U.S.C.
8§ 2252A(a) (2) (A), (b) (1): Receipt
of Child Pornography]

 

 

 

 

The Grand Jury charges:
COUNT ONE
[18 U.S.C. §§ 2251(a), (e)]

On or about February 8, 2017, in Los Angeles County, within the
Central District of California, and elsewhere, defendant JOHN EDWARD
ZERETZKE knowingly employed, used, persuaded, induced, enticed, and
coerced VICTIM 1, an individual who had not attained the age of 18
years, to engage in sexually explicit conduct, as defined in Title

18, United States Code, Section 2256(2) (A), for the purpose of

 
10

11

12

13

14

15

16

17

18

19

20

al

22

23

24

25

26

27]

28

 

 

Case 2:18-cr-00549-FMO Document1 Filed 08/28/18 Page 2of6 Page ID #:2

COUNT TWO
[18 U.S.C. § 2422(b)]

Beginning on or about November 6, 2015, and continuing to on or
about May 28, 2016, in Los Angeles County, within the Central
District of California, and elsewhere, defendant JOHN EDWARD ZERETZKE
(“ZERETZKE”) used a facility and means of interstate and foreign
commerce, namely, the Internet, to knowingly attempt to persuade,
induce, entice, and coerce an individual who had not attained the age
of 18 years, namely, VICTIM 2, whom defendant ZERETZKE believed to be
a fifteen-year-old girl, to engage in sexual activity for which a
person can be charged with a criminal offense, namely, attempted
production of child pornography, in violation of Title 18, United
States Code, Sections 2251(a), (e).

‘In attempting to commit this offense, defendant ZERETZKE did
something that was a substantial step towards committing the offense,
including the following acts, among others:

1. On or about November 7, 2015, during a chat on Facebook,
after VICTIM 2 told defendant ZERETZKE that she planned to lose her
virginity on her upcoming 16th birthday, defendant ZERETZKE said he
had always wanted to have sex with a virgin and wished he could be
that person for VICTIM 2.

2. On or about November 7, 2015, during a chat on Facebook,
defendant ZERETEZKE sent VICTIM 2 approximately eight photographs of
defendant ZERETZKE having sex with his ex-girlfriend.

3. On or about November 8, 2015, during a chat on Facebook,
defendant ZERETZKE sent VICTIM 2 approximately eight photographs of

defendant ZERETZKE exposing his genitals.

 

 
10

11

12

13

14

15

16

17

18

19

20

al

22

23

24

25

26

27

28

 

 

Case 2:18-cr-00549-FMO Document1 Filed 08/28/18 Page 30f6 Page ID #:3

4. On or about November 8, 2015, during a chat on Facebook,
defendant ZERETZKE sent VICTIM 2 approximately 26 photographs of
defendant ZERETZKE masturbating to ejaculation.

5. On or about November 8, 2015, during a chat on Facebook,
defendant ZERETEZKE told VICTIM 2 that he wanted “to see a photo of
your pussy...up close.”

6. On or about November 8, 2015, during a chat on Facebook,
defendant ZERETZKE indicated a sexual interest in VICTIM 2, and
described, in detail, how he would like to have sex with VICTIM 2.

7. On or about December 15, 2015, defendant ZERETZKE told
VICTIM 2 that he gent her a pair of cowboy boots as a Christmas gift.

8. On or about December 22, 2015, during a chat on Facebook,
after VICTIM 2 sent defendant ZERETZKE photographs of VICTIM 2
wearing the cowboy boots, defendant ZERETZKE asked VICTIM 2 to send

him additional photographs.

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

2g

 

 

Case 2:18-cr-00549-FMO Document1 Filed 08/28/18 Page 4of6 Page ID#:4

COUNT THREE
[18 U.S.C. § 2423(b)]

Between on or about August 20, 2017,. and on or about September
23, 2017, defendant JOHN EDWARD ZERETZKE (“ZERETZKE”), a citizen of
the United States, knowingly traveled in foreign commerce, from the
United States to the Philippines, for the purpose of engaging in any
illicit sexual conduct, as defined in Title 18, United States Code,
Section 2423(f£), namely, a sexual act as defined in Title 18, United
States Code, Section 2246, with a person between twelve and sixteen
years of age who was at least four years younger than defendant
ZERETZKE, and a commercial sex act, as defined in Title 18, United

States Code, Section 1591, with a person under eighteen years of age.

 
10

11

12

13

14

15

16

17

18

19

20

al

22

23

24

25

26

27

28

 

 

Case 2:18-cr-00549-FMO Document1 Filed 08/28/18 Page5of6 Page ID#:5

COUNT FOUR
[18 U.S.C. §8§ 2252A(a) (2) (A), (b) (1)]

On or about August 17, 2017, in Los Angeles County, within the
Central District of California, and elsewhere, defendant JOHN EDWARD
ZERETZKE (“ZERETZRE” ) knowingly received, into his Facebook account,
child pornography, as defined in Title 18, United States Code,
Section 2256(8) (A), that had been mailed, and, using any means and
facility of interstate and foreign commerce, had been shipped and
transported in and affecting interstate and foreign commerce by any
means, including by computer, knowing that the images were child
pornography.

The child pornography that defendant ZERETZKE received was a

video titled “unified _ message 10213035452617085.mp4.”

 
10

Li

12

13

14

15

16

17

18

19

20

al

22

23

24

25

26

27

28

 

 

Case 2:18-cr-00549-FMO Document1 Filed 08/28/18 Page 6of6 Page ID #:6

COUNT FIVE
[18 U.S.C. §8§ 2252A(a) (2) (A), (b) (1)]

On or about August 19, 2017, in Los Angeles County, within the
Central District of California, and elsewhere, defendant JOHN EDWARD
ZERETZKE (“ZERETZKE”) knowingly received, into his Facebook account,
child pornography, as defined in Title 18, United States Code,
Section 2256(8) (A), that had been mailed, and, using any means and
facility of interstate and foreign commerce, had been shipped and
transported in and affecting interstate and foreign commerce by any
means, including by computer, knowing that the images were child
pornography.

The child pornography that defendant ZERETZKE received was a

video titled “unified message_10213048587945460.mp4.”

A TRUE BILL

[5[

Foreperson

NICOLA T. HANNA
United States Attorney

LAWRENCE S. MIDDLETON

Assistant United States Attorney
Chief, Criminal Division

JUSTIN R. RHOADES

Assistant United States Attorney
Chief, Violent & Organized Crime
Section

 
